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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Criminal Case No. 23-cr-00453-NYW-MEH

   UNITED STATES OF AMERICA,

          Plaintiff-Appellee,

   v.

   CHRISTOPHER CORDOVA,

          Defendant-Appellant.


                                NOTICE OF CONVENTIONAL FILING



           The United States of America, by and through Assistant United States Attorney

    Jess D. Mekeel hereby provides notice of conventional filing of the government’s trial

    exhibits 1 and 4 and the government’s sentencing exhibits 23-1 and 23-3. The exhibits

    will be conventionally submitted on a flash drive to the clerk’s office in the Alfred A.

    Arraj United States Courthouse. The exhibits will be provided to counsel for Defendant-

    Appellant Cordova on a flash drive via Federal Express.

           DATED at Denver, Colorado this 5th day of April, 2024.

                                              COLE FINEGAN
                                              United States Attorney

                                      By:     s/ Jess D. Mekeel
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              1801 California Street, Suite 1600
                                              Denver, Colorado 80202
                                              Telephone: 303-454-0100
                                              Email: Jess.Mekeel@usdoj.gov
                                              Counsel for Appellee United States of America




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                                   CERTIFICATE OF SERVICE

          I certify that on this 5th day of April, 2024, I electronically filed the foregoing with

   the Clerk of the Court using the CM/ECF system which will send notification of such

   filing to all counsel of record in this case.




                                        By: s/ Kayla Keiter
                                            Appellate Secretary
                                            United States Attorney=s Office




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